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                              UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

CHARLOTTE LOQUASTO, et al.                                      §
                                                                §
VS.                                                             §
                                                                §
FLUOR CORPORATION, INC.,                                        §                 C.A. NO. 3:19-CV-01455-B
FLUOR ENTERPRISES, INC.,                                        §                 (Consolidated with
FLUOR GOVERNMENT GROUP, INC.,                                   §                 C.A. No. 3:19-cv-01624-B)
FLUOR INTERCONTINENTAL, INC. and                                §
ALLIANCE PROJECT SERVICES, INC.                                 §                JURY TRIAL DEMANDED

       PLAINTIFFS’ OPPOSED MOTION FOR JURISDICTIONAL DISCOVERY AND
      EXTENSION OF TIME TO RESPOND REGARDING THE FLUOR DEFENDANTS’
     RULE 12(H)(3) MOTION TO DISMISS UNDER POLITICAL QUESTION DOCTRINE

            Plaintiffs request that this Court allow jurisdictional discovery regarding Defendant Fluor’s1

motion to dismiss for lack of subject-matter jurisdiction under the political-question doctrine.2

Plaintiffs request that this Court extend the due date on their response to Fluor’s motion to dismiss

until after the jurisdictional discovery is complete.

            This lawsuit arises out of a bombing that occurred at the Bagram Air Base in Afghanistan.3

Five men (three U.S. Soldiers and two Fluor employees) were killed and 17 U.S. soldiers were

badly injured.4 The Plaintiffs are the surviving family members of the deceased and 9 of the

injured soldiers.5       The Plaintiffs allege that the Defendants were negligent in employing,

supervising, managing and/or retaining the bomber.6


1
 “Fluor” refers to Defendants Fluor Corporation, Inc.; Fluor Enterprises, Inc.; Fluor Intercontinental, Inc.; and Fluor
Government Group International, Inc.
2
    Doc. 21.
3
  Doc. 1-3 at 7-10. The references to documents filed with this Court will be to the page number on the ECF system’s
file-stamp mark at the top of each page, as opposed to the page number a party has provided at the bottom of a page.
4
    Id.
5
    Id. at 10-29.
6
    Id. at 29-35.
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            Fluor has filed a motion to dismiss for lack of subject-matter jurisdiction, alleging that the

political-question doctrine deprives this Court of subject-matter jurisdiction over the Plaintiffs’

claims.7 Fluor has not limited its motion to dismiss to the Plaintiffs’ pleadings. Instead, Fluor has

chosen to rely on extensive extrinsic evidence in support of its argument that this Court does not

have subject-matter jurisdiction.8 Fluor attached over 50 exhibits to its motion, comprising over

1,000 pages, including a 34-page declaration from the Security Director for Fluor Government

Group Contingency Operations.9

            Fluor has indicated that it opposes any discovery regarding the issues in its motion to

dismiss. Instead of sending discovery to Fluor and having Fluor then object to the discovery, this

motion seeks to obtain resolution of this issue in an efficient manner that will not delay this case.

The Plaintiffs need discovery to properly respond to Fluor’s motion to dismiss. They request that

this Court extend their response date until after the discovery regarding Fluor’s motion to dismiss

has been concluded.

            The Fifth Circuit has held that motions to dismiss based on the political-question doctrine

are treated as motions to dismiss for lack of subject-matter jurisdiction.10 When a defendant bases

its motion to dismiss for lack of subject-matter jurisdiction on extrinsic evidence—as opposed to

basing it solely on the pleadings—the “plaintiff is also required to submit facts through some

evidentiary method and has the burden of proving by a preponderance of the evidence that the trial




7
    Doc. 21.
8
    Id. at 12-15.
9
    Id. at 12-15; Docs. 21-1 – 21-4.
10
  Spectrum Stores, Inc. v. Citgo Petroleum Corp., 632 F.3d 938, 948 (5th Cir. 2011) (“we treat the Appellees’ original
motion to dismiss on political question grounds as a Rule 12(b)(1) motion to dismiss for lack of subject matter
jurisdiction”).



                                                          2
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court does have subject matter jurisdiction.”11 The Fifth Circuit has held that when a defendant

bases its motion to dismiss for lack of subject-matter jurisdiction on extrinsic evidence, “the district

court must give the plaintiff an opportunity for discovery and for a hearing that is appropriate to

the nature of the motion to dismiss.”12

           Federal courts considering motions to dismiss based on alleged political questions have

allowed discovery when the defendant has chosen to rely on extrinsic evidence.13 As one federal

court noted, the defendant “essentially initiated discovery by attaching declarations and other

documentary evidence to its brief in support of its Motion to Dismiss.”14 Because Fluor has chosen

to base its motion to dismiss on extrinsic evidence, the Plaintiffs should have the opportunity to

obtain discovery regarding this evidence and the issues Fluor raised.

           Fluor bases its political-question argument primarily on its Security Director’s declaration,

as well as internal Fluor documents and emails.15 The declaration includes conclusory claims,

such as the claim that the bomber’s “behavior did not generate any basis for Fluor to suspect his

malicious intentions” and that at “all times there was a known supervisory chain responsible for

overseeing [the bomber’s] job performance in the” area he worked.16 The declaration also claims

that it could not restrict the bomber from accessing the switches and multimeters that he used to




11
  Paterson v. Weinberger, 644 F.2d 521, 523 (5th Cir. 1981); see also Superior MRI Services, Inc. v. All. Healthcare
Services, Inc., 778 F.3d 502, 504 (5th Cir. 2015).
12
     Williamson v. Tucker, 645 F.2d 404, 414 (5th Cir. 1981).
13
   See, e.g., Smith v. Halliburton Co., CIV.A. H-06-0462, 2006 WL 2521326, at *1 (S.D. Tex. Aug. 30, 2006); Fisher
v. Halliburton, 696 F. Supp. 2d 710, 722 (S.D. Tex. 2010), order vacated on other grounds, appeal dismissed, 667
F.3d 602 (5th Cir. 2012); Harris v. Kellogg, Brown & Root Services, Inc., 618 F. Supp. 2d 400, 416 (W.D. Pa. 2009).
14
     Harris, 618 F. Supp. 2d at 417.
15
  Doc. 21 at 12-15; Docs. 21-1 – 21-4. The extrinsic evidence also includes various governmental reports and
documents in Fluor’s possession.
16
     Doc. 21-1 at 26 (¶¶ 63-64).



                                                           3
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construct the bomb.17 Without discovery, the Plaintiffs have no way to explore the truthfulness

and completeness of these statements. Fluor should not be allowed to base its motion to dismiss

on a 30+ page declaration without the Plaintiffs having the opportunity to question the witness

about his sworn statements and obtain evidence related to what he claims happened.

            WHEREFORE, Plaintiffs respectfully request that this Court allow jurisdictional discovery

on the issues raised in Fluor’s motion to dismiss, extend the due date for the Plaintiffs’ response

to Fluor’s motion to dismiss until after the jurisdictional discovery is complete and for such other

relief to which Plaintiffs are entitled.




17
     Id. at 29 (¶ 73).



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                                    Respectfully submitted,

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                             CERTIFICATE OF CONFERENCE

        The undersigned certifies that counsel for all parties conferred, via phone and in person, on
these issues as part of the process of preparing the Joint Status Report (Doc. 24), filed on August
29, 2019. As set forth in the Joint Status Report, at paragraphs 4 and 6(c), Counsel for Fluor
Defendants and Defendant APS oppose the relief sought in this motion.

                                                       /s/ Peter K. Taaffe
                                                       Peter K. Taaffe

                                 CERTIFICATE OF SERVICE

        The undersigned certifies that on September 16, 2019, I served a true and correct copy of
the foregoing on counsel of record for all counsel in both the Loquasto and Branch matters under
Local Rule 42.1 and the Federal Rules of Civil Procedure, as follows:

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